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 9                                  UNITED STATES DISTRICT COURT
10                                 NORTHERN DISTRICT OF CALIFORNIA
11                                        OAKLAND DIVISION
12
      EOLAS TECHNOLOGIES                                Lead Case No. 4:17-cv-03022-JST
13    INCORPORATED,
                                                        [PROPOSED] ORDER TO
14                    Plaintiff,                        ADMINISTRATIVE MOTION TO FILE
                                                        UNDER SEAL CERTAIN DOCUMENTS
15            v.                                        TO DEFENDANTS WALMART’S AND
                                                        AMAZON’S REPLY IN SUPPORT OF
16    AMAZON.COM, INC.,                                 THEIR MOTION TO EXCLUDE THE
                                                        REPORT AND EXPERT TESTIMONY
17                    Defendant.                        OF DR. RYAN SULLIVAN
18
      EOLAS TECHNOLOGIES                                Case No. 4:17-cv-03023-JST
19    INCORPORATED,
20                    Plaintiff,
21            v.
22    WALMART INC.,
23                    Defendant.
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     Case No. 4:17-cv-03022-JST              [PROPOSED] ORDER TO ADMINISTRATIVE MOTION TO FILE UNDER
                                            SEAL CERTAIN DOCUMENTS TO DEFENDANTS’ REPLY I/S/O MOTION
                                                 TO EXCLUDE THE REPORT AND TESTIMONY OF DR. SULLIVAN
       Case 4:17-cv-03023-JST Document 158 Filed 02/18/22 Page 2 of 2


 1            Before the Court is Defendants Walmart and Amazon’s Administrative Motion for leave

 2    to file under seal certain documents to their Reply in support of Their Motion to Exclude the Report

 3    and Expert Testimony of Dr. Ryan Sullivan. Having considered the Administrative Motion, the

 4    briefing and argument in support of and in opposition thereto, and all related matters, the Court

 5    hereby GRANTS Defendants Walmart and Amazon’s Administrative Motion to File Document

 6    Under Seal the un-redacted versions of the documents:

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 8      Portion Containing Confidential Information        Portions to be Filed    Designating Party
                                                               Under seal
 9
       Unredacted Copy of Defendants Walmart’s and            Highlighted           Eolas designated
10     Amazon’s Reply in support of Their Motion to        portions in yellow     “Highly Confidential
       Exclude the Report and Expert Testimony of                                  – Attorneys’ Eyes
11     Dr. Ryan Sullivan (“Reply”).                                                  Only” and/or
                                                                                     “Restricted—
12                                                                                  Attorneys’ Eyes
                                                                                         Only”
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              IT IS SO ORDERED.
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               February 18, 2022
       Dated: _________________________                  _____________________________________
19
                                                         Honorable Jon S. Tigar
20                                                       United States District Judge

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     Case No. 4:17-cv-03022-JST         [PROPOSED] ORDER TO ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                  CERTAIN DOCUMENTS TO DEFENDANTS’ REPLY I/S/O MOTION TO EXCLUDE THE
                                                               REPORT AND TESTIMONY OF DR. SULLIVAN
